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            APPENDIX A – SUMMARY OF GROUNDS FOR DISMISSAL OF PLAINTIFFS’ STATE LAW CLAIMS

                                                         ANTITRUST CLAIMS

    State      No         No Antitrust    Fails With    No Named Plaintiff     Indirect Purchaser     No In-State   Failure to Comply
            Conspiracy     Standing      Sherman Act      With Standing       Class Actions Barred     Conduct         With Notice
                                            Claim                                                      Alleged          Provision
    AL          X              X              X                                                           X
    AZ          X              X              X                                                                            X
    CA          X              X              X
    CO          X              X              X                                        X1                                  X
    CT          X              X              X                                                                            X
    DC          X              X              X
    HI          X              X              X                                                                            X
    IL          X              X              X                                         X
    IA          X              X              X
    KS          X              X              X
    MD          X              X              X
    ME          X              X              X
    MI          X              X              X
    MN          X              X              X
    MS          X              X              X                                                           X
    NC          X              X              X
    ND          X              X              X
    NE          X              X              X
    NH          X              X              X
    NJ          X              X              X                                        X2
    NM          X              X              X


1
      Plaintiffs’ claims that predate the adoption of the Colorado indirect purchaser amendment are barred.
2
      Plaintiffs’ claims that predate the adoption of the New Jersey indirect purchaser amendment are barred.
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State      No         No Antitrust    Fails With   No Named Plaintiff    Indirect Purchaser    No In-State   Failure to Comply
        Conspiracy     Standing      Sherman Act     With Standing      Class Actions Barred    Conduct         With Notice
                                        Claim                                                   Alleged          Provision
NV          X              X             X                                                                          X
NY          X              X             X                                                                          X
OR          X              X             X
RI          X              X             X                                                                          X
SD          X              X             X
TN          X              X             X
UT          X              X             X                                                                          X
VT          X              X             X
WI          X              X             X
WV          X              X             X                 X                                       X




                                             2
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                                                  CONSUMER PROTECTION CLAIMS

    State      No          Bar on         Indirect        Indirect       Price   In-State  Failure Failure          Failure to
            Conspiracy      Non-         Purchaser       Purchaser    Fixing Not Conduct to Meet      to              Allege
                          Consumer      Class Actions     Actions     Cognizable Required   9(b)    Allege          Elderly or
                            Suits          Barred         Barred        Claim             Standard Reliance         Disabled
    AR          X                                            X            X                           X
    AZ          X
    CA          X
    CO          X
    DC          X             X                                            X
    FL          X                                                                                     X
    IL          X                             X                            X              X
    MA          X             X3
    MD          X             X                                            X                                   X
    MI          X                                                          X                          X
    MN          X             X
    MO          X             X                              X
    MT          X             X               X
    NE          X
    NH          X                                                                         X
    NM          X                                                          X
    NV          X             X                                                                                         X
    OR          X             X                                            X
    PA          X                                                          X                          X        X
    RI          X                                                          X
    SC          X                             X              X             X
    SD          X                                                          X



3
      Massachusetts prohibits businesses from bringing indirect purchaser actions.


                                                   3
